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COUNSEL FOR THE DEFENDANT

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re                              §
                                    §
                                                                    Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                    §
                                                             Case No. 19-34054-sgj11
      Debtor.                       §
                                    §
                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                    §
      Plaintiff,                    §
                                    §
 v.                                 §                           Adv. No. 21-03004
                                    §
 HIGHLAND CAPITAL MANAGEMENT        §
 FUND ADVISORS, L.P.,               §
                                    §
      Defendant.

                                    NOTICE OF HEARING

          PLEASE TAKE NOTICE that the United States Bankruptcy Court for the Northern

District of Texas will conduct a hearing via WebEx on the Defendant’s Second Amended Motion

for Leave to Amend Answer and Brief in Support Thereof, to be held before the Honorable Stacey

G.C. Jernigan, United States Bankruptcy Judge, on January 10, 2022 at 9:30 a.m. Instructions

for      remote   participation   are   below.    For    more    information,    please   visit

https://www.txnb.uscourts.gov/.

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                                      Judge Stacey Jernigan's Courtroom

                                   https://us-courts.webex.com/meet/jerniga

                                                Join by phone

                                 Call-in number (US/Canada): 1-650-479-3207

                                          Access code: 479 393 582

         RESPECTFULLY SUBMITTED this 7th day of December, 2021.

                                                    MUNSCH HARDT KOPF & HARR, P.C.

                                                    By: /s/ Julian P. Vasek
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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this the 7th day of December, 2021, true and
correct copies of this document were electronically served by the Court’s ECF system on parties
entitled to notice thereof, including counsel of record for the Plaintiff.

                                                       /s/ Julian P. Vasek
                                                       Julian P. Vasek




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